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      4 Attorney for Defendant
        LAWRENCE KENNEDY NELSON
      5
      6                                 UNITED STATES DISTRICT COURT

      7                               EASTERN DISTRICT OF CALIFORNIA

      8
      9 UNITED STATES OF AMERICA,                       )   Case No: 2:12-CR-00169 MCE
                                                        )
     10      Plaintiff,                                 )
                                                        )   STIPULATION AND
     11          v.                                     )   ORDER TO CONTINUE STATUS
                                                        )   CONFERENCE AND TO EXCLUDE
     12
          LAWRENCE KENNEDY NELSON,                      )   TIME PURSUANT TO THE SPEEDY
     13                                                 )   TRIAL ACT
             Defendant.                                 )
     14
     15
                 IT IS HEREBY STIPULATED by and between the undersigned parties, Jason Hitt,
     16
          Assistant United States Attorney and V.Roy Lefcourt, attorney for defendant LAWRENCE
     17
          KENNEDY NELSON, that the previously scheduled status conference date of January 30, 2014
     18
          be vacated and the matter set for status conference on April 24, 2014 at 9:00 a.m.
     19
                 It is the intent of counsel to resolve this matter by plea, and both parties are confident that
     20
          a reasonable continuance will result in a final completion of a plea agreement. Therefore, it is
     21
          respectfully requested that a continuance be granted to allow counsel additional time to complete
     22
          a plea agreement.
     23
                 Further, the parties agree and stipulate the ends of justice will be served by the granting of
     24
          such a continuance which outweigh the best interests of the public and the defendant’s right to a
     25
          speedy trial and that time within which the trial of this case must be commenced under the Speedy
26
          Trial Act should therefore be excluded under 18 U.S.C. § 3161(h)(7)(B)(iv), corresponding to

                                                                                                                   1
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          Local Code T-4, from the date of the parties’ stipulation, January 30, 2014, to and including April
      1
          24, 2014.
      2
                 Accordingly, the parties respectfully request the Court adopt this proposed stipulation.
      3
                 IT IS SO STIPULATED.
      4
          DATED: January 28, 2014                      Respectfully submitted,
      5
      6
                                                       _/s/ V.ROY LEFCOURT_____________
      7                                                V.ROY LEFCOURT
                                                       Attorney for Defendant
      8                                                LAWRENCE KENNEDY NELSON

      9
          DATED: January 28, 2014
     10                                                _/s/ JASON HITT__________________
                                                       JASON HITT
     11                                                Assistant United States Attorney
                                                       By Watina Fee
     12
     13                                                ORDER
     14
                 IT IS SO ORDERED.
     15
     16 Dated: January 29, 2014
     17
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26


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